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 aAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                                                                                   Lwi        -   r'I ".
                                                          Southern District of Georgia
                                                             Savannah Division
                    United States of America                          )
                                   V.                                 )
                                                                      ) Case No: CR495-00123-007
                      Kenneth Ramon Sanders
                                                                      ) USMNo: 46388-019
Date of Previous Judgment: April 23, 1996                             ) Fred Bergen
(Use Date of Last Amended Judgment if Applicable)                    ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of        the defendant     the Director of the Bureau of Prisons   the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         DENIED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 340       months is reduced to          324 months
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                     37                         Amended Offense Level:     37
Criminal History Category:                  V                          Criminal History Category: V
Previous Guideline Range:               324 to 405 months              Amended Guideline Range 324 to 405 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
   The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
   Other (explain)




III. ADDITIONAL COMMENTS

If this sentence is less than the amount of time the defendant has already served, the sentence is reduced to a "Time
Served" sentence.


Except as provided above, all provisions of the judgment dated               April 23, 1996,        shall remain in effect.
IT IS SO ORDERED.

Order Date:       ef Zoo8                                                                         'ssignatur

                                                                       William T. Moore, Jr.
Effective Date: ______________________                                 Chief Judge, U. S. District Court
                     (if different from order date)                                       Printed name and title
